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              UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KATHRYN DESTINEY KEENEY,               ) Case No.: 2:10-CV-01723
                                       )
             Plaintiff,                )
      v.                               )
                                       ) (Unlawful Debt Collection Practices)
                                       )
PALISADES COLLECTION, LLC,             )
         Defendant.                    )
                                       )
                                       )

                     NOTICE OF VOLUNTARY DISMISSAL

TO THE CLERK:

      NOTICE IS HEREBY GIVEN that the above-captioned case has been

DISMISSED with prejudice.



_/s/ Craig Thor Kimmel _______
Craig Thor Kimmel, Esquire
Kimmel & Silverman, PC
30 East Butler Pike
Ambler, PA 19002
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 1st day of June 2010, that a copy of the

aforegoing Notice of Voluntary Dismissal was e-filed and sent by regular mail to:

                              Jonathan J. Greystone, Esq.
                             Spector, Gadon & Rosen, P.C.
                               1635 Market St., 7th Floor
                                Philadelphia, PA 19103

                                            ______/s/ Craig Thor Kimmel___
                                            Attorney for Plaintiff
                                            Craig Thor Kimmel, Esquire
                                            Kimmel & Silverman, PC
                                            30 East Butler Pike
                                            Ambler, PA 19002
